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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  IN RE:                                                                 CASE NO.: 15-25422-RAM
                                                                                     CHAPTER 7
  James Melvin LittleJohn,

     Debtor.
  ________________________________/

                  MOTION FOR ORDER UNDER § 362(J) CONFIRMING
                       NO AUTOMATIC STAY IS IN EFFECT

       CREDITOR, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
RESIDENTIAL ASSET SECURITIES CORPORATION, HOME EQUITY MORTGAGE
ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES 2005-AHL3., (Movant), by and
through undersigned counsel and files this Motion under 11 U.S.C. § 362(c) and (j), for an order
confirmation that no automatic stay is in effect, and shows the Court:
       1.      This Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP
4001(a) and the various other applicable provision of the United States Bankruptcy Code, Federal
Rules of Bankruptcy Procedures.
       2.      The Debtor filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy Code
on August 26, 2015.
       3.      Debtor’s prior bankruptcy case, Chapter 13 case number 14-34579-RBR filed in
the Southern District of Florida, was dismissed on November 26, 2014 for Debtor’s failure to
correct filing deficiency.
       4.      Movant holds a secured interest in the property located at 15020 S RIVER DR,
Miami, FL 33167 (the subject property) legally described as;
LOT 105, BISCAYNE GARDENS SECTION F PART 1, ACCORDING TO THE PLAT
THEREOF, AS RECORDED IN PLAT BOOK 44, PAGE 45. OF THE PUBLIC RECORDS
OF MIAM-DADE COUNTY. FLORIDA.
       5.      Debtor’s prior bankruptcy case, case number 14-34579-RBR, was dismissed within
the preceding 1 year period of Debtor’s current bankruptcy filing. As such, pursuant to 11 U.S.C.
§ 362(c)(3)(A), the automatic stay terminated on September 26, 2015 which is the 30th day after
the filing of Debtor’s current bankruptcy case.
       6.      Debtor has not filed a motion under 11 U.S.C. § 362(c)(3)(B) requesting that the

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automatic stay be extended.
        7.     The Trustee in the case has not filed a motion under 11 U.S.C. § 521(a)(6)(B) to
determine that the property is of consequential value or benefit to the Estate.
        8.     The Movant herein requests the entry of an Order under 11 U.S.C. §362(j)
confirming that the automatic stay under 11 U.S.C. §362(a) was terminated on September 26,
2015, due to Debtor’s prior bankruptcy filing being dismissed within the preceding 1 year period.
        WHEREFORE, Movant, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
RESIDENTIAL ASSET SECURITIES CORPORATION, HOME EQUITY MORTGAGE
ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES 2005-AHL3 moves this Court
to enter its Order confirming that the automatic stay is not in effect.
        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by
Electronic Service and/or First Class U.S. Mail to the attached mailing list, this 12 day of May,
2016.

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                                               By: _/s/ Can Guner________
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